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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS



ASHLEY CATATAO,                                    )
                                                   )
                Plaintiff,                         )
       v.                                          )               CIVIL ACTION
                                                   )               NO. 22‐10620‐PBS
SIG SAUER, INC.,                                   )
                                                   )
                Defendant.                         )


                             SETTLEMENT ORDER OF DISMISSAL

SARIS, D.J.

       The Court having been advised, on January 10, 2025, that the above‐entitled action has

been settled:

       It is hereby ORDERED that this action is hereby DISMISSED without prejudice to the right

of any party, upon good cause shown to re‐open the action within thirty (30) days if settlement

is not consummated.



                                                   By the Court:

                                                   Robert Farrell, Clerk


                                                   / s / Clarilde Karasek
                                                   Deputy Clerk

DATED: January 13, 2025
